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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JUDICIAL WATCH, INC.,                          )
                                               )
                        Plaintiff,             )
                                               )      Civil Action No. 19-cv-0879 (CJN)
v.                                             )
                                               )
U.S. DEPARTMENT OF JUSTICE,                    )
                                               )
                        Defendant.             )
                                               )

                     SECOND DECLARATION OF RAMONA R. COTCA

         I, Ramona R. Cotca, declare and state as follows:

         1.     I am an attorney employed by Judicial Watch, Inc. (“Judicial Watch”) and counsel

for Plaintiff in the above-captioned matter. I have personal knowledge of the matters set forth

below.

         2.     Attached hereto as Exhibit 1 is a true and correct copy of pages 9, 16, 25, 27, and

45 of the PDF Document Production produced by CRM on June 19, 2020.

         3.      Attached hereto as Exhibit 2 is a true and correct copy of page 3 of the PDF

Supplemental Document Production produced by OIP on June 8, 2021 (Flores April 13, 2017

Email to McFadden).


         I declare under penalty of perjury that the foregoing is true and correct. Executed on July

19, 2021 in Washington, D.C.


                                                      /s/ Ramona R. Cotca
                                                      Ramona R. Cotca
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                         Exhibit 1
CRM June 19, 2020 Document Production
      Pages 9, 16, 25, 27, and 45
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                                                       U.S. Department of Justice

                                                       Criminal Division



Office of Enforcement Operations                       Washington, D.C. 20530




VIA Electronic Mail                                    June 19, 2020

Ramona R. Cotca
Judicial Watch, Inc.
425 Third St., SW
Suite 800
Washington, D.C. 20024                                Judicial Watch, Inc. v. U.S. Department of
rcotca@JUDICIALWATCH.ORG                              Justice, 19-cv-00879-CJN (D.D.C.)

Dear Ms. Cotca:

        This is the final response to your Freedom of Information Act request dated July 5, 2018,
for records concerning an April 2017 meeting between DOJ, FBI personnel, and reporters of the
Associated Press. Your request is currently the subject of the above-referenced litigation.

         This response pertains to two hundred and fifteen (215) pages of records, one hundred
and forty-seven (147) of which are duplicative of pages previously released to you in the course
of this litigation. After careful review, I have determined that four (4) pages must be withheld in
full and that two hundred and eleven (211) pages may be released in part. All of these
withholdings are made pursuant to:

          5 U.S.C. § 552(b)(5), which concerns certain inter- or intra-agency communications
          protected by the deliberative process privilege and the attorney work-product privilege;

          5 U.S.C. § 552(b)(6), which concerns materials the release of which would constitute a
          clearly unwarranted invasion of the person privacy of third parties;

          5 U.S.C. § 552(b)(7)(A), which concerns records or information compiled for law
          enforcement purposes the release of which could reasonably be expected to interfere with
          ongoing enforcement proceedings;

          5 U.S.C. § 552(b)(7)(C), which concerns records or information compiled for law
          enforcement purposes the release of which could reasonably be expected to constitute an
          unwarranted invasion of the personal privacy of third parties; and,

          5 U.S.C. § 552(b)(7)(E), which concerns records or information compiled for law
          enforcement purposes the release of which could reasonably be expected to disclose
          techniques or procedures for law enforcement investigations or prosecutions.
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                                                 2


        You may contact Trial Attorney Antonia M. Konkoly by phone at (202) 514-2395 or by
mail at U.S. Department of Justice, Civil Division, Federal Programs Branch, 1100 L Street,
N.W., Washington, DC 20005 for any further assistance and to discuss any aspect of your
request.

        For your information, Congress excluded three discrete categories of law enforcement
and national security records from the requirements of the FOIA. See 5 U.S.C. § 552(c). This
response is limited to those records that are subject to the requirements of the FOIA. This is a
standard notification that is given to all our requesters and should not be taken as an indication
that excluded records do, or do not, exist.

         Although your request is the subject of litigation, I am required by statute to inform you
that if you are not satisfied with my response to this request, you may administratively appeal by
writing to the Director, Office of Information Policy (OIP), United States Department of Justice,
Suite 11050, 1425 New York Avenue, NW, Washington, DC 20530-0001, or you may submit an
appeal through OIP’s FOIAonline portal by creating an account on the following web site:
https://foiaonline.regulations.gov/foia/action/public/home. Your appeal must be postmarked or
electronically transmitted within 90 days of the date of my response to your request. If you
submit your appeal by mail, both the letter and the envelope should be clearly marked “Freedom
of Information Act Appeal.”


                                                      Sincerely,



                                                      Amanda Marchand Jones
                                                      Chief
                                                      FOIA/PA Unit

Enclosures

Cc: Antonia M. Konkoly (Antonia.Konkoly@usdoj.gov)
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From:                  (b) (6), (b) (7)(C) (CRM)
To:                    Weissmann, Andrew (CRM)
Subject:               FW: Meeting with AP
Date:                  Tuesday, April 4, 2017 2:26:51 PM


Eric would like to know if his editor can attend the meeting on Tuesday as well. Thank you.

(b) (6), (b) (7)(C)

U.S. Department of Justice
Criminal Division, Fraud Section
Contractor: CACI
(b) (6), (b) (7)(C) (o) (b) (6), (b) (7)(C) (c)
(b) (6), (b) (7)(C) @usdoj.gov

From: Tucker, Eric [mailto:etucker@ap.org]
Sent: Tuesday, April 4, 2017 2:24 PM
To: (b) (6), (b) (7)(C) (CRM) (b) (6), (b) (7)(C) @CRM.USDOJ.GOV>
Subject: RE: Meeting with AP

Hi (b) (6), (b) (7)(C) ,
   Would it be possible to have my editor, Ted Bridis, also at the table with us next Tuesday morning?
I figured it wouldn’t be a problem to have one extra person there on our side, but just wanted to
make sure that’d be OK. Thanks very much for arranging.

Eric

-----Original Appointment-----
From: (b) (6), (b) (7)(C) @usdoj.gov [mailto:(b) (6), (b) (7)(C) @usdoj.gov] On Behalf Of Weissmann,
Andrew (CRM)
Sent: Tuesday, April 04, 2017 1:44 PM
To: Ohr, Bruce (ODAG); (b) (6), (b) (7)(C) per FBI (CID) (FBI); (b) (6), (b) (7)(C) per FBI (WF) (FBI); Brickley, Ann
(CRM); Tucker, Eric; Horwitz, Jeff
Subject: Meeting with AP
When: Tuesday, April 11, 2017 9:00 AM-9:30 AM (UTC-05:00) Eastern Time (US & Canada).
Where: 4th floor VTC (4204)



We are located in the Bond Building at 1400 New York Ave NW.    
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         From:                                        (WF) (FBI)
                                      (b) (6), (b) (7)(C) per FBI

         To:                          Brickley, Ann (CRM)
         Date:                        Thursday, April 27, 2017 4:53:00 PM




        Ann,

        I'm doing an EC on our meeting with the AP, and want to get everyone who was there. Can you let me know who
        from DOJ was present for that when you get a chance?

        Thanks,
(b) (6), (b) (7)(C) per FBI



        _______________________________________________________________________________
        (b) (6), (b) (7)(C) per FBI


        Special Agent
        FBI - Washington Field Office
        (b) (6), (b) (7)(C), (b)(7)(E) per FBI



        Desk: (b) (6), (b) (7)(C) per FBI
        Cell: (b) (6), (b) (7)(C) per FBI
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From:               Bridis, Ted
To:                 Brickley, Ann (CRM)
Subject:            RE: AP"s latest stories on Paul Manafort
Date:               Tuesday, May 16, 2017 2:30:02 PM


https://apnews.com/6ac48bb640d34e55b5e57da0240a04bd/Russian-magnate-sues-AP-over-story-
on-Trump-campaign-ties

           WASHINGTON (AP) — A Russian billionaire with ties to Vladimir Putin sued The Associated
           Press on Monday for defamation over a story about his connections to a former Trump
           campaign chairman.

           Aluminum magnate Oleg Deripaska claimed in the federal defamation and libel lawsuit that
           the AP’s March 22 story about his business dealings with Paul Manafort was inaccurate and
           hurt his career by falsely accusing him of criminal activity.

           The AP’s general counsel, Karen Kaiser, said the news organization stands by its story and will
           defend itself vigorously.



From: Bridis, Ted
Sent: Wednesday, April 12, 2017 6:36 PM
To: (b) (6), (b) (7)(C) @usdoj.gov'
Subject: AP's latest stories on Paul Manafort

https://apnews.com/20cfc75c82eb4a67b94e624e97207e23/AP-Exclusive:-Manafort-firm-received-
Ukraine-ledger-payout

           ... Now, financial records newly obtained by The Associated Press confirm that at least $1.2
           million in payments listed in the ledger next to Manafort's name were actually received by his
           consulting firm in the United States. They include payments in 2007 and 2009, providing the
           first evidence that Manafort's firm received at least some money listed in the so-called Black
           Ledger.

https://apnews.com/7820703c490a45a8a5608274e24e827b/Former-Trump-campaign-chairman-to-
register-as-foreign-agent

           WASHINGTON (AP) — President Donald Trump's former campaign chairman Paul Manafort
           will register with the Justice Department as a foreign agent for lobbying work he did on
           behalf of political interests in Ukraine, led at the time by a pro-Russian political party, his
           spokesman said Wednesday.... By registering retroactively, Manafort will be acknowledging
           that he failed to properly disclose his work to the Justice Department as required by federal
           law.

Ted Bridis, news editor
Investigative
The Associated Press
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From:                              (b) (6), (b) (7)(C) (CRM)
To:                                Weissmann, Andrew (CRM)
Subject:                           RE: Meeting with AP
Date:                              Friday, April 7, 2017 2:02:05 PM


Eric would like to invite another reporter to the list (in addition to the request below). Is that okay
with you? Thank you.

(b) (6), (b) (7)(C)

U.S. Department of Justice
Criminal Division, Fraud Section
Contractor: CACI
(b) (6), (b) (7)(C) (o) (b) (6), (b) (7)(C) (c)
(b) (6), (b) (7)(C) @usdoj.gov

From: Weissmann, Andrew (CRM)
Sent: Friday, April 7, 2017 12:54 PM
To: (b) (6), (b) (7)(C) (CRM) <(b) (6), (b) (7)(C) @CRM.USDOJ.GOV>
Subject: Re: Meeting with AP

Yes

Andrew Weissmann
Chief
Fraud Section
Criminal Division
Office (b) (6), (b) (7)(C)

On Apr 7, 2017, at 12:41 PM, (b) (6), (b) (7)(C) (CRM)
(b) (6), (b) (7)(C) @CRM.USDOJ.GOV> wrote:
           Is it okay for an additional reporter (there are three current attending) come to the AP
           meeting on Tuesday? Thank you.

           (b) (6), (b) (7)(C)

           U.S. Department of Justice
           Criminal Division, Fraud Section
           Contractor: CACI
           (b) (6), (b) (7)(C) (o) (b) (6), (b) (7)(C) (c)
           (b) (6), (b) (7)(C) y@usdoj.gov


           From: Tucker, Eric [mailto:etucker@ap.org]
           Sent: Friday, April 7, 2017 12:37 PM
           To: (b) (6), (b) (7)(C) (CRM) (b) (6), (b) (7)(C) @CRM.USDOJ.GOV>
           Subject: RE: Meeting with AP

           Hi                  if possible, I’d like to request that another colleague of mine who has worked
                (b) (6), (b)
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From:                Tucker, Eric
To:                  Weissmann, Andrew (CRM)
Subject:             Re: Is tomorrow afternoon good for you to talk?
Date:                Thursday, April 6, 2017 11:23:01 PM




Sounds good. I'll be free and reachable by cell (b) (6), (b) (7)(C) Thanks.

Sent from my iPhone

> On Apr 6, 2017, at 11:21 PM, Weissmann, Andrew (CRM) (b) (6), (b) (7)(C) @usdoj.gov> wrote:
>
> Sometime between 4-5ish?
>
> Andrew Weissmann
> Chief
> Fraud Section
> Criminal Division
> Office: (b) (6), (b) (7)(C)
>
>> On Apr 6, 2017, at 11:20 PM, Tucker, Eric <etucker@ap.org> wrote:
>>
>> Yes, absolutely. Is there a particular time that works?
>>
>> Sent from my iPhone
>>
>>> On Apr 6, 2017, at 11:16 PM, Weissmann, Andrew (CRM) (b) (6), (b) (7)(C) @usdoj.gov> wrote:
>>>
>>>
>>>
>>>         (b) (6)
>>>
>>>
>>>
>>> Andrew Weissmann
>>> Chief
>>> Fraud Section
>>> Criminal Division
>>> Office: (b) (6), (b) (7)(C)
>>
>>
>
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                        Exhibit 2
Flores April 13, 2017 Email to McFadden
OIP June 8, 2021 Supp. Doc. Production
                  Page 3
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                                                             U.S. Department of Justice
                                                             Office of Information Policy
                                                             441 G Street, NW
                                                             Sixth Floor
                                                             Washington, DC 20530


Telephone: (202) 514-3642

                                                             June 8, 2021


Sean Dunagan                                         Re:     DOJ-2019-005812
Judicial Watch, Inc.                                         19-cv-879 (D.D.C.)
sdunagan@judicialwatch.org                                   VRB:JMB:BRV

Dear Sean Dunagan:

       This is a supplemental response to your Freedom of Information Act (FOIA) request,
dated July 5, 2018 and received in this Office on July 2, 2019,1 for records related to an April
2017 meeting between Department of Justice and FBI personnel and the Associated Press.

        Please be advised that a search has been conducted in the Office of Public Affairs (PAO)
and twelve pages containing records responsive to your request have been identified. I have
determined that all twelve pages are appropriate for release with withholdings made pursuant to
Exemptions 6, 7(C), and 7(E) of the FOIA, 5 U.S.C. §§ 552(b)(6), (b)(7)(C), and (b)(7)(E).
Exemption 6 pertains to information the release of which would constitute a clearly unwarranted
invasion of the personal privacy of third parties, Exemption 7(C) pertains to records or
information compiled for law enforcement purposes, the release of which could reasonably be
expected to constitute an unwarranted invasion of the personal privacy of third parties, and
Exemption 7(E) pertains to records or information compiled for law enforcement purposes, the
release of which would disclose certain techniques or procedures for law enforcement
investigations or prosecutions.

        For your information, Congress excluded three discrete categories of law enforcement
and national security records from the requirements of the FOIA. See 5 U.S.C. § 552(c)
(2018). This response is limited to those records that are subject to the requirements of the
FOIA. This is a standard notification that is given to all our requesters and should not be taken
as an indication that excluded records do, or do not, exist.




1
  This FOIA request was not routed to this Office until July 2, 2019, after the above-captioned
litigation related to this request had commenced.
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                                             -2-


      If you have any questions regarding this response, please contact Antonia Konkoly of the
Department’s Civil Division, Federal Programs Branch at 202-514-2395.

                                                          Sincerely,



                                                          Jonathan Breyan
                                                          Senior Supervisory Attorney
                                                          for
                                                          Vanessa R. Brinkmann
                                                          Senior Counsel
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McFadden, Trevor N. (CRM)

From:                 McFadden, Trevor N. (CRM)
Sent:                 Thursday, April 13, 2017 9:06 PM
To:                   Flores, Sarah Isgur (OPA)
Subject:              Re: Hold on what we discussed


Sorry just spoke with Andrew. Happy to fill you in on his side.

> On Apr 13, 2017, at 9:03 PM, Flores, Sarah Isgur (OPA) <siflores@jmd.usdoj.gov> wrote:
>
> Looks like it's more serious than I first thought.




                                                                                           19cv879 - 5
